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                                                                                           U.S. DISTRICT
                                                                               CIRCUIT COURT     OF      COURT
                                                                          JEFFERSON COUNTY, N.D.    OF ALABAMA
                                                                                               ALABAMA
                                                                       JACQUELINE ANDERSON SMITH, CLERK
             IN THE CIRCUIT COURT FOR JEFFERSON COUNTY, ALABAMA


YOLANDA WISE,                                *
                                             *
                                             *
     Plaintiff,                              *    Case No.: CV - 2021 - ____________
                                             *
  v.                                         *
                                             *
PUBLIX SUPER MARKETS, INC. and               *
Fictitious Defendants “A,” “B,” and          *
“C,” whether singular or plural, those       *
other persons, corporations, firms or        *
other entities whose wrongful conduct        *
caused or contributed to cause the           *
injuries and damages to Plaintiff, all of    *
whose true and correct names are             *
unknown to Plaintiff at this time, but       *
will be added by amendment when              *
ascertained,                                 *
                                             *
     Defendant.

______________________________________________________________________________
                                 COMPLAINT


          This is an action by Plaintiff, Yolanda Wise, (herein after referred to as “Plaintiff”)

against Defendant, Publix Super Markets, Inc., (herein after referred to as “Defendant”)       for

personal injuries and damages sustained by the Plaintiff as the result of a defective condition on

or about July 20, 2020.

                              PARTIES, JURISDICTION, VENUE

1.        The Plaintiff was a resident and citizen of Jefferson County, Alabama at all times

material to the issues in this case.

2. Defendant Publix Super Markets, Inc. is a corporation that is registered to do business in the

state of Alabama at all times material to the issues in this case. Defendant may be served



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through it’s registered agent, Corporate Creations Network Inc, at 4000 Eagle Point Corporate

Drive, Birmingham, AL 35242.

3.     Fictitious Defendants “A”, “B” and “C’ are other persons and/or entities whose wrongful

conduct may have caused and/or contributed to the incident that forms the basis of this

Complaint but are unknown to Plaintiff at this time.

4.     The incident giving rise to this complaint occurred in Jefferson County, Alabama.

5.     Venue in Jefferson County, Alabama is proper.

                                    APPLICABLE FACTS

6.     On or about July 20, 2020, Plaintiff was at the Defendant’s location in Jefferson County,

Alabama, in Trussville, Alabama at 5150 Old Springville Road, Pinson, AL 35126.

7.     At said time and place, Plaintiff was an invitee was upon the premises of the Defendant

in Jefferson County, Alabama, when Plaintiff fell and was injured.

                                COUNT ONE - NEGLIGENCE

8. Plaintiff re-alleges and incorporates the preceding paragraphs herein as if they were fully and

completely set forth herein.

9. At said time and place, Plaintiff fell when Defendant maintained a dangerous condition with

actual or constructive knowledge that Defendant’s parking lot was dangerously maintained in

that the painted white lines on the parking lot ground become extremely slippery when wet, and

Defendant allowed said condition to be present without warning to the Plaintiff of the presence

of danger.

10. In causing said known dangerous condition to persist on that certain premises described

hereinabove, Defendant:

       (a)     Negligently failed to exercise ordinary care.



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        (b)         Negligently failed to cure a known danger.

        (c)         Negligently failed to warn Plaintiff of said known danger.

        (d)         Otherwise acted in negligent disregard of the rights and safety of the Plaintiff and

other business invitees.

11. The Plaintiff avers that the acts and conduct of the Defendant constitutes common law

negligence.

12. As the proximate consequence of said negligence, Plaintiff was caused to suffer personal

injuries, pain, suffering and other damages.

        WHEREFORE, Plaintiff demands judgment against the Defendant for all damages, court

costs and attorney’s fees to which Plaintiff is entitled and for all compensatory damages that it

will take to make the Plaintiff fully whole; furthermore, Plaintiff demands any further damages

in such an amount as this Court may determine.

                                    COUNT TWO - WANTONNESS

13. Plaintiff re-alleges and incorporates the preceding paragraphs herein as if they were fully and

completely set forth herein.

14. At said time and place, Defendant acted in such a wanton manner in creating and maintaining

a known dangerous condition and failing to cure or warn invitee of said dangerous condition, so

as to

        (a) cause injury to Plaintiff due to the dangerous condition, and

        (b) cause Plaintiff to undergo doctors appointments and physical therapy appointments,

              and

        (c) cause the Plaintiff to suffer and sustain the injuries and damages.




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15. In causing said known dangerous condition to persist on that certain premises described

hereinabove, Defendant:

       (a)     Wantonly failed to exercise ordinary care.

       (b)     Wantonly failed to cure a known defect.

       (c)     Wantonly failed to warn Plaintiff of said known defect.

       (d)     Otherwise acted in wanton disregard of the rights and safety of the Plaintiff and

others business invitees.

16. The Plaintiff avers that the acts and conduct of the Defendant constitutes wantonness.

17. As the proximate consequence of said negligence, Plaintiff was caused to suffer personal

injuries, pain, suffering and other damages.

       WHEREFORE, Plaintiff demands judgment against the Defendant for all damages, court

costs and attorney’s fees to which Plaintiff is entitled and for all compensatory damages that it

will take to make the Plaintiff fully whole; furthermore, Plaintiff demands any further damages

in such an amount as this Court may determine.

                       COUNT THREE – FICTITIOUS DEFENDANTS

18. Plaintiff re-alleges and incorporates the preceding paragraphs herein as if they were fully and

completely set forth herein.

19. Fictitious Defendant "A", "B", and "C", whether singular or plural, are those other persons, firms,

corporations, or other entities whose negligent, wanton, reckless and wrongful conduct contributed to

the injuries sustained by the Plaintiff, said Fictitious Defendant names are unknown to Plaintiff at

this time, but will be promptly substituted by amendment when ascertained.

   WHEREFORE, Plaintiff demands judgment against Fictitious Defendants “A”, “B”, and “C”,

both jointly and severally, for all compensatory damages, court costs and attorney’s fees to which



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Plaintiff is entitled. Furthermore, Plaintiff demands punitive damages in such an amount as this Court

may determine.

       JURY DEMANDED AS TO ALL COUNTS OF THE COMPLAINT

       This July 22, 2021.


                                       Respectfully submitted,
                                       /s/ Harrison R. Jones
                                       HARRISON R. JONES (JON212))
                                       ATTORNEY FOR THE PLAINTIFF

OF COUNSEL:
SLOCUMB LAW FIRM, LLC
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hjones@slocumblaw.com


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                         REQUEST FOR SERVICE OF PROCESS

       The Plaintiff hereby requests that the Summons and Complaint in this case be served on

the following Defendant by Certified Mail at her respective mailing address as follows:

Publix Super Markets Inc.
Agent: Corporate Creations Network Inc.
4000 Eagle Point Corporate Drive,
Birmingham, AL 35242.




                                     /s/ Harrison R. Jones
                                     HARRISON R. JONES (JON212)
                                     ATTORNEY FOR THE PLAINTIFF




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